   Case: 23-1825   Document: 99          Filed: 06/26/2023     Pages: 26


          Nos. 23-1793, 23-1825, 23-1826, 23-1827, & 23-1828


     In The   United States Court of Appeals
                for the Seventh Circuit

                          CALEB BARNETT, et al.,

                                                      Plaintiffs-Appellees,
                                    v.

                          KWAME RAOUL, et al.,

                                                   Defendants-Appellants.

      On Interlocutory Appeal from the United States District Court
                   for the Southern District of Illinois

                        No. 3:23-cv-00209-SPM
                   The Honorable Stephen P. McGlynn

    BRIEF FOR AMICI CURIAE IDAHO, ALABAMA, ALASKA,
  ARKANSAS, FLORIDA, GEORGIA, INDIANA, IOWA, KANSAS,
 KENTUCKY, LOUISIANA, MISSISSIPPI, MISSOURI, MONTANA,
   NEBRASKA, NEW HAMPSHIRE, NORTH DAKOTA, SOUTH
CAROLINA, SOUTH DAKOTA, UTAH, VIRGINIA, WEST VIRGINIA,
         AND WYOMING SUPPORTING PLAINTIFFS


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Appellate Court No: 23-1825
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                             INTEREST OF AMICI STATES

      The States of Idaho, Alabama, Alaska, Arkansas, Florida, Georgia, Indiana, Iowa,

Kansas, Kentucky, Louisiana, Mississippi, Missouri, Montana, Nebraska, New Hamp-

shire, North Dakota, South Carolina, South Dakota, Utah, Virginia, West Virginia, and

Wyoming respect the people’s right to keep and bear Arms. They and the Constitution

agree that the right protected by the Second Amendment is “necessary to the security

of a free State.” U.S. CONST. amend. II. Particularly today, when crime too often goes

unchecked and with criminal brazenness increasing, law-abiding citizens need the ability

to Arm and defend themselves with effective weapons. For this reason, Amici States

unapologetically defend the Second Amendment.

      Illinois’s “Protect Illinois Communities Act” reflects a very different view of the

Second Amendment. Instead of maximally protecting the right, the Act attacks the core

of the right. It disregards a fundamental liberty that belongs to all Americans, and it

encourages other governments to experiment with the people’s rights. In many regards,

States are important laboratories of democracy. But when it comes to the Bill of Rights,

States are not free to experiment. All States must respect and defend the rights of Amer-

icans. Unless enjoined, the PICA’s eroding impact will not be confined to Illinois.

      Amici States are also home to lawful firearm businesses that can no longer sell




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the hundreds of types of firearms banned by the PICA in Illinois. 1 Illinois’s unconsti-

tutional law should not limit the lawful activity of its own residents or the lawful activity

of residents in Amici States.

       Accordingly, Amici States file this brief in support of Plaintiffs-Appellees under

Federal Rule of Appellate Procedure 29(a)(2).

                                SUMMARY OF ARGUMENT

       Firearm bans in Illinois are not new. In 1981, Morton Grove, Illinois passed

America’s first handgun ban. See Morton Grove, Ill., Ordinance 81-11 (June 8, 1981).

In 1982, Chicago and Evanston followed suit. In 1984, Oak Park banned handguns too.

And in 1992, Chicago banned “assault weapons.”

       In 2010, the Supreme Court stepped in and struck down handgun bans, vindi-

cating Illinoisians’ Second Amendment rights at last. See McDonald v. City of Chicago, 561

U.S. 742 (2010). Undeterred, Illinois recently passed the Protect Illinois Communities

Act to ban even the mere ownership of hundreds of types of firearms that were lawful

prior to its enactment and remain lawful in the great majority of the country. The Act

is just another instance of Illinois’s fixation with firearm bans. And although Illinois has

become the standard-bearer for gun bans, the PICA is just as unlawful as the ones

struck down in McDonald.



1
  See https://tinyurl.com/4rat5ew7 (noting a 2018 “survey ranked Idaho as the state
most dependent on the firearms industry” and that other states with strong gun indus-
tries include Montana, Alaska, South Dakota, and Wyoming).

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       Illinois’s sweeping gun ban is at odds with just about every jot and tittle of the

Second Amendment. Illinois has no right to limit firearm rights to whatever it deems

“necessary” for self-defense. That is not how the Second Amendment works. The

Amendment, rather, stands as a reminder to governments—state and federal alike—

that “the people” have a “pre-existing” right to keep and bear arms. District of Columbia v.

Heller, 554 U.S. 570, 592 (2008). The right guarantees the people the very “Arms” Illi-

nois has banned. Illinois’s job is to recognize and defend that right, not empty it. See id.

at 585; see also James Wilson, Of Crimes Against the Right of Individuals to Personal

Safety, in 2 Collected Works of James Wilson 1137, 1142, n.x (K. Hall & M. Hall eds.,

2007), https://tinyurl.com/2p8244t4 (The right to bear arms “cannot be repealed, or

superseded, or suspended by any human institution.”).

       Applying Bruen in this case is straightforward. At step one, the Court should have

“little difficulty” concluding that the “plain text of the Second Amendment” protects

the right to keep and bear the semiautomatic weapons Illinois has banned. New York

State Rifle & Pistol Ass’n, Inc. v. Bruen, 142 S. Ct. 2111, 2134 (2022). These weapons are

“bearable arms,” and the PICA bans people from keeping and bearing them. Nothing

more at step one is required—especially not Illinois’s concocted “commonly used for

self-defense” test. Bruen, 142 S. Ct. at 2132; Heller, 554 U.S. at 582.

       At step two, Illinois has not come close to meeting its burden to identify a “well-

established and representative historical analogue” justifying the PICA’s severe re-

strictions. See Bruen, 142 S. Ct. at 2133. Its reliance on recycled regulations already

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rejected in Bruen Court will not cut it. The Supreme Court held that those historical

examples do not justify regulating the public carry of handguns. They certainly cannot

justify the far more restrictive bans at issue here.

       Amici States recognize the heartbreaking gravity of gun violence. But at ratifica-

tion, the people acted to ensure that they would always remain able to arm themselves

with effective and useful weapons. In the face of gun violence, Illinois can act too, and

it should: by investigating crime and holding criminals fully responsible for their unlaw-

ful conduct. Illinois, however, cannot act by stripping law-abiding citizens of proven

ways to defend themselves. The Court should strike down the PICA and vindicate the

people’s rights under the Second Amendment.

                                       ARGUMENT

  I.   The Plain Text of the Second Amendment Bars States from Banning
       Arms Owned by Millions of Law-Abiding Americans.
       Illinois considers some firearms unnecessary for self-defense and bans them. The

list of these “unnecessary” firearms is lengthy—an unsurprising feature given the nar-

rowness of Illinois’s concept of self-defense. The list includes hundreds of semiauto-

matic handguns and rifles that are commonly used by law-abiding Americans for self-

defense. Never mind that these firearms are popular or effective. By Illinois’s lights,

since people don’t need elephant guns to shoot rabbits, they also don’t need handguns

or rifles that hold too much ammunition to defend themselves. But the Second Amend-

ment does not codify Illinois’s minimalist principle.



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       Just the opposite. The Second Amendment protects the people’s right to keep

and bear “Arms,” which is a broad term that “covers modern instruments that facilitate

armed self-defense.” Bruen, 142 S. Ct. at 2132. It “extends, prima facie, to all instruments

that constitute bearable arms, even those that were not in existence at the time of the

founding.” Heller, 554 U.S. at 582 (emphasis added). At least facially, the Second

Amendment will not “permit any prohibition of arms to the people.” St. George

Tucker, View of the Constitution of the United States, with Selected Writings 91, 253 (Liberty

Fund ed. 1999), https://tinyurl.com/bdmzrdzz. It demands that “the right of the peo-

ple to keep and bear arms, shall not be infringed,” period. U.S. CONST. amend. II.

       Despite the breadth of this “unqualified command,” Bruen, 142 S. Ct. at 2132,

Illinois contends its firearms ban should bypass Second Amendment scrutiny. The ar-

gument is consistent with the strategy employed by anti-gun regulators post-Bruen. They

try at all costs to avoid Bruen’s full analysis, even if it means advancing arguments “bor-

dering on the frivolous.” Heller, 554 U.S. at 582. And so too here, where Illinois claims

that its ban of some of the most commonly used firearms today does not even implicate

the Second Amendment. Illinois could hardly be more wrong.

   A. Illinois is Wrong that the Plain Text of the Second Amendment Only Co-
      vers Firearms that are Proven to be Commonly Used for Self-Defense.
       Illinois’s principal argument on appeal is grounded in a made-up test. It repeat-

edly argues that Bruen’s first step requires a plaintiff to prove that the “Arms” at issue

are commonly used for self-defense. See Dkt #47 at 13, 15-28. But that is not at all what



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Bruen’s first step requires. The question is simply whether the Illinois ban regulates con-

duct covered by the “plain text” of the Second Amendment. See Bruen, 142 S. Ct. at

2126. It does, so it is presumptively unlawful, and Illinois bears the burden of justifying

its facial infringement. Id.

       But Illinois tries to duck its burden with its made-up test and mischaracterized

language from Heller and Bruen. For example, the Court in Heller noted “that the sorts

of weapons protected were those ‘in common use at the time.”’ Heller, 554 U.S. at 627.

And the Court in Bruen said that “[t]he Second Amendment guaranteed to all Americans

the right to bear commonly used arms in public subject to certain reasonable, well-

defined restrictions.” Bruen, 142 S. Ct. at 2156. Neither of these statements supports

Illinois’s necessary-condition test that “Arms” must be “commonly used for self-de-

fense”—particularly at Bruen’s first step. See Dkt. #47 at 17. If anything, the Supreme

Court’s “common use” language supports a sufficient condition for finding arms pro-

tected at step two.

       Not only is Illinois’s reading unsupported by Heller and Bruen, both cases unam-

biguously reject it. Heller says the Second Amendment “extends, prima facie, to all in-

struments that constitute bearable arms,” and explains that “bearable arms” include all

weapons possessed or carried “for offensive or defensive action in a case of conflict.”

Heller, 554 U.S. at 582, 584; see also id. at 581 (relying on founding-era “source [that]

stated that all firearms constituted ‘arms’”). Likewise, Bruen reaffirms that understanding

and adds that the term “Arms” broadly “covers modern instruments that facilitate

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armed self-defense.” Bruen, 142 S. Ct. at 2132. And Nunn v. State, 1 Ga. 243, 251

(1846)—which the Bruen Court found “particularly instructive” in this area, Bruen, 142

S. Ct. at 2147—understood the right to include “arms of every description, and not such

merely as are used by the militia.” The “assault weapons” that Illinois bans are “bearable

arms”; they are possessed or carried for “offensive or defensive action”; and they are

“modern instruments that facilitate armed self-defense.” Heller, 554 U.S. at 582, 584;

Bruen, 142 S. Ct. at 2132. The criminal and tragic use of these weapons by some does

not change their nature.

       Illinois ignores this analysis entirely. It instead monotonously claims that “assault

weapons” are not “commonly used for self-defense.” See, e.g., Dkt. #47 at 17, 20, 22,

28, & 47. That is irrelevant at step one—it’s also incorrect (more on that later). Arms

covered by the Second Amendment need only be “bearable.” Heller, 554 U.S. at 582.

There is no threshold requirement that a firearm achieve “common use” status before

it falls within the Amendment’s scope. That standard would produce an even more

“absurd” result than the “view of commonality” about which Illinois complains. See

Dkt. #47 at 21. Under Illinois’s view, a government could ban any firearm if it acts

quickly enough. But of course, that understanding renders the arms-bearing right con-

tingent on the State, rather than a natural and pre-political right that serves as a moral

check on the State. See Heller, 554 U.S. at 585; see also Wilson, supra, at 1142 (The right

to bear arms “cannot be repealed, or superseded, or suspended by any human institu-

tion.”).

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      Bruen’s analysis on this score confirms that the “plain text” of the Second

Amendment covers “assault weapons” as defined by PICA. The Court had “little diffi-

culty concluding” that the Second Amendment protected the right to carry all types of

handguns publicly for self-defense. Bruen, 142 S. Ct. at 2134. The Court did not even

question whether the firearms at issue were “Arms.” Id. It did not pause and count

round capacity. Nor did it consider how criminals used them. It simply noted that the

“textual elements” of the Second Amendment “guarantee the individual right to possess

and carry weapons in case of confrontation.” Id. Beyond being “bearable,” the class,

type, capacity, and “common use” of a weapon plays no part in the step-one analysis.

      Illinois’s test is just a disguised attempt to transfer its step-two burden to plain-

tiffs. A plaintiff challenging a firearms regulation need only show that “the Second

Amendment’s plain text covers [his] conduct.” Bruen, 142 S. Ct. at 2126. That’s it. The

analysis then proceeds with the government bearing the burden at step two to justify

its regulation, which it may do by showing that the regulated firearms are “dangerous

and unusual.” Id. at 2143 (“At most, [the State] can show that colonial legislatures some-

times prohibited the carrying of ‘dangerous and unusual weapons.”’). In other words,

whether a firearm is “commonly used for self-defense” or “dangerous and unusual” is

a step-two consideration. See id.

      All that matters at Bruen’s first step is that Illinois bans ownership of “bearable

arms,” which makes the PICA presumptively unconstitutional.



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   B. Illinois is Wrong that the Plain Text of the Second Amendment Neces-
      sarily Excludes “Offensive” and “Militaristic” Arms.
       Illinois’s next pass at evading its burden under Bruen goes something like this.

The Second Amendment applies only to “civilian self-defense.” Dkt. #47 at 29. And

because “assault weapons” are “offensive” and “militaristic” arms, they fall outside the

Second Amendment’s “prima facie” sweep. See id. at 28-32. That argument is meritless.

       First, Illinois’s “offensive” and “militaristic” test makes no sense. Arms cannot

be classified as strictly “offensive” or “defensive” weapons. Any weapon useful for self-

defense purposes is capable of “offensive” uses. The Second Amendment does not turn

on how a weapon is used. Illinois’s “militaristic” descriptor is just as problematic. Con-

sider the 1911. It is arguably the most popular handgun in the world—protected by the

Second Amendment per the express holdings of Bruen and Heller—and yet Colt de-

signed it at the request of, and for, the U.S. military. The 1911 is far more “militaristic”

than, say, the AR-15, which the U.S. military has not adopted. Adopting Illinois’s ra-

tionale justifies banning firearms the Supreme Court has already said cannot be banned.

Those tests are defunct for the same reason a “dangerous” test “cannot be used to

identify arms that fall outside the Second Amendment.” Caetano v. Massachusetts, 577

U.S. 411, 418 (2016) (Alito, J., concurring).

       After all, the Second Amendment protects “offensive” and “militaristic” arms.

Both Heller and Bruen confirm that the right to “bear arms” includes the right “of being

armed and ready for offensive or defensive action in a case of conflict with another



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person.” Heller, 554 U.S. at 584 (citation omitted); Bruen, 142 S. Ct. at 2134; see also Heller,

554 U.S. at 581 (noting that definition of “arms” included “instruments of offence gen-

erally made use of in war” (citation omitted)). And the Framers included the right as “a

strong moral check against the usurpation and arbitrary power of rulers” that would

“enable the people to resist and triumph over them.” 3 J. Story, Commentaries on the Con-

stitution of the United States: Amendments to the Constitution § 1890, at 746 (1833), https://ti-

nyurl.com/4j2rdcbt. That is why they referred to the right as “the true palladium of

liberty” and warned that government narrowing the right would place liberty “on the

brink of destruction.” Tucker, supra, at 238-39; see also McDonald v. City of Chicago, 561

U.S. 742, 769 (2010). And the militia—a citizen military force armed with personal

weapons—was seen as necessary to secure liberty and repel tyranny. Illinois is thus

wrong to argue that “offensive” and “militaristic” firearms are unprotected by the Sec-

ond Amendment.

       Moreover, the Supreme Court has emphasized that the right to keep and bear

arms goes beyond the militia to include an individual right to self-defense. See Bruen,

142 S. Ct. at 2127; Heller, 554 U.S. at 599. But it has never limited the right to individual

self-defense. “[P]reserving the militia” and “hunting” are additional legitimate reasons

“Americans valued the ancient right.” Heller, 554 U.S. at 599. The Court has simply

corrected the narrow and incorrect view that the Second Amendment protects firearm

possession only in connection with militia service. Id. at 577. Today, Illinois adopts an



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equally narrow and incorrect view, this time carving out militia service and hunting. Its

cabined view of the Second Amendment lacks textual or precedential support.

       But constitutional precision has not been a feature of Illinois’s Second Amend-

ment analysis. When it was in the business of banning all handguns, Illinois said the

Second Amendment only protects military weapons. District of Columbia v. Heller, No.

07-290, 2007 WL 2962910, at *6 (U.S. Oct. 5, 2007) (arguing as an amicus party that

the Second Amendment only protected firearms that are “ordinary military equip-

ment”). Now it has done an about-face, arguing that the Second Amendment only pro-

tects firearms used for “civilian self-defense” but that “militaristic weapons . . . are not

covered by the Second Amendment’s text.” Dkt. #47 at 28-29. Apparently, Illinois is

willing to say just about anything—no matter how contradictory with previous positions

it has taken—to justify its unconstitutional laws.

       Nor is it not enough for Illinois to hang its argument on the passing observation

in Heller that “M–16 rifles and the like” may be banned. See Heller, 554 U.S. at 627. That

stray comment is dicta, but in any event, such a ban would still need to pass through

Bruen’s second step. A firearm ban is not exempt from Bruen’s full analysis just because

it happens to be analogous to a different unchallenged regulation. Besides, the ban at

issue involves semiautomatic firearms, not fully automatic firearms like the M–16. The

firearms banned here are in common civilian use like the handguns banned in Heller.

That contrasts with the distinctly military M–16.



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       Illinois’s swing from one extreme interpretation to the other is untethered to the

Second Amendment’s plain text. Militia service is not the only reason for the Second

Amendment right, but neither is it irrelevant to the right. Weapons useful for self-de-

fense and militia service fit neatly within the scope of “Arms” protected by the Second

Amendment. And Illinois’s use of “scary” adjectives like “offensive” and “militaristic”

to describe firearms it bans does not automatically render those firearms unprotected.

   C. Illinois’s Claim that the Firearms It Bans Are Not Commonly Used for
      Self-Defense is Wrong.
       Even if Illinois’s made-up test were the standard, the banned “assault weapons”

are “commonly used for self-defense.” First, the banned arms are in “common use.”

Millions of them are owned by millions of Americans. They are even more common

than America’s most common pickup truck. SA23. The undeniable ubiquity of these

firearms has led courts to find that they are in common use. See, e.g., Heller v. District of

Columbia, 670 F.3d 1244, 1261 (D.C. Cir. 2011) (“We think it clear enough in the record

that semi-automatic rifles and magazines holding more than ten rounds are indeed in

‘common use.’”); New York State Rifle & Pistol Ass’n, Inc. v. Cuomo, 804 F.3d 242, 255 (2d

Cir. 2015) (“[T]he assault weapons and large-capacity magazines at issue are ‘in common

use’ as that term was used in Heller.”). Even the ATF has recognized that the firearms

Illinois targets are both suitable for “home and self-defense” and “popular” for “self-

defense.” Report and Recommendation of the ATF Working Group on the Importability of Certain

Semiautomatic Rifles, Dep’t of the Treasury: Bureau of Alcohol, Tobacco and Firearms



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(July 6, 1989), https://www.atf.gov/file/61761/download. Not even the legislators

who passed the PICA pretended that the firearms lacked common use. See Transcription

Debate, 102nd General Assembly 57-58 (Jan. 5, 2023), https://ilga.gov/house/tran-

scripts/htrans102/10200109.pdf (Leader Durkin acknowledging that the AR-15 is “a

commonly used weapon”). Illinois may quibble with the exact number, but it does not

(and cannot) dispute that assault weapons are in common use.

       The firearms are also commonly used for self-defense. A few harrowing reports

make the point. In 2019, two masked and armed burglars invaded a family’s home just

outside of Tampa, Florida. See Amelia Wynne, Heavily pregnant mother uses an AR-15 to

kill a home intruder after two men burst into her Florida home, pistol whipped her husband and

grabbed their 11-year-old daughter, Daily Mail (Nov. 4, 2019, 4:08 PM), https://ti-

nyurl.com/3m6yzs6c. They pointed their guns at the father and his 11-year-old daugh-

ter and pistol-whipped and kicked the father while demanding money. Id. The mother,

who was pregnant at the time, was in another part of the house, got ahold of the family’s

AR-15, and opened fire on the armed invaders. Id. The father would later say, “the AR

did its thing” and saved his family’s life. Id.

       In 2014, a Detroit mother protected her children from men who had kicked her

door down. See Detroit Mom Fires Assault Rifle To Protect Family From Home Invaders, New-

sOne (Feb. 20, 2014), https://tinyurl.com/yc659xtt. With an assault rifle in hand, she

warned the intruders that she had a gun. Id. They scoffed and she fired a warning shot,

which sent them scrambling back out the door. Id. Detroit Police Chief James Craig

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said the mother “did the right thing,” and her husband expressed relief that he had

armed his wife and prepared her for that kind of situation. Id. Had he not, he recognized

that he “could have came home to a family that was gone.” Id.

       In 2017, a civilian in Sutherland Springs, Texas used an AR-15 to stop an active

shooter at a church. See Michael J. Mooney, The Hero of the Sutherland Springs Shooting Is

Still Reckoning With What Happened That Day, Texas Monthly (Nov. 2018), https://ti-

nyurl.com/yact97dt. When Stephen Willeford heroically went to the aid of his commu-

nity, he had many types of guns he could have taken with him. Id. But he deliberately

chose his AR-15. Id. And it’s a good thing. The shooter had an AR-15, “but,” as

Willeford says, “so did I.” Sutherland Springs Hero Honored At NRA Convention: ‘He Had

An AR-15 And So Did I’, CBS Texas (May 4, 2018, 4:45 PM), https://ti-

nyurl.com/5n899j8z.

      Numerous similar accounts could be retold. But these ones are response enough

to Illinois’s paternalistic claim that there is “no need in self-defense scenarios” for the

weapons it has banned. See Dkt. #47 at 30. There was just such a need for the pregnant

mother in Tampa, for the mom home alone with her kids in Detroit, and for the Suth-

erland Springs hero. Each repelled force with force, and an assault rifle was their lawful

and effective weapon of choice.




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 II.   Concealed Carry Laws do not Justify Illinois’s Total Ban on Common
       Arms.
       Once reaching Illinois’s historical analysis, it becomes clear why Illinois worked

so hard to avoid Bruen’s second step. It really does not want the Court to compare the

PICA to traditional firearms regulations. One reason is that the Bruen Court already

considered the same types of regulations—and even some of the very same laws, like

the 1686 East New Jersey Law—that Illinois says justify its gun ban. The Court found

that those laws were either too “solitary” to warrant any “meaningful weight” or merely

“prohibit[ed] bearing arms in a way that spreads ‘fear’ or ‘terror’ among the people.”

See Bruen, 142 S. Ct. at 2143-45. They did not justify regulations on the public carry of

firearms more broadly. And if the laws that Illinois cites were unfit for New York’s far

narrower firearm regulation, they are unfit to justify Illinois’s blanket ban on a whole

class of weapons.

       That leads to another reason Illinois has gone to great lengths to sidestep Bruen.

It has no answer to the central question at Bruen’s second step: whether the PICA is

“relevantly similar” to historical regulations based on “how and why the regulations

burden a law-abiding citizen’s right to armed self-defense.” See Bruen, 142 S. Ct. at 2132-

33. Zilch. That’s because even raising those “how” and “why” questions spells defeat

for the PICA. The PICA does not just prohibit “bearing arms in a way that spreads

‘fear’ or ‘terror’ among the people.” See Bruen, 142 S. Ct. at 2145. No, it outright bans

the simple possession of hundreds of bearable arms—a far greater effect on the



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people’s right to bear arms. And the reason for the ban is not to prevent public fear at

the sight of such weapons but to limit mass shootings and other crime. The PICA thus

does not share a relevantly similar impact or reason compared with the proffered his-

torical analogues.

       Illinois ignores another important point. The Bruen Court explained that “when

a challenged regulation addresses a general societal problem that has persisted since the

18th century, the lack of a distinctly similar historical regulation addressing that problem

is relevant evidence that the challenged regulation is inconsistent with the Second

Amendment.” Id. at 2131. Tragically, wicked men have long used guns to murder fellow

human beings. In 1876, a man shot and killed his “lover” out of jealousy. Nat’l Rifle

Ass’n v. Bondi, 61 F.4th 1317, 1319 (11th Cir. 2023). In 1884, an 18-year-old in Philadel-

phia shot a 14-year-old girl and then turned the gun on himself “because she would not

love him.” Id. And in 1949, Henry Unruh embarked upon his “walk of death” murder-

ing 13 people. See Patrick Sauer, The Story of the First Mass Shooting in U.S. History, Smith-

sonian Magazine (Oct. 14, 2015), https://tinyurl.com/578szh6v. But governments did

not respond to the depraved and criminal actions of these—and sadly, several other—

individuals by banning law-abiding citizens from owning firearms in the way that Illinois

has here. Illinois has pointed to no “distinctly similar historical regulation” addressing

the problem of gun violence. That alone makes the PICA unconstitutional.

                                       CONCLUSION

       For the foregoing reasons, this Court should affirm.

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                           CERTIFICATE OF COMPLIANCE

      Pursuant to Fed. R. App. P. 32(a), and Seventh Circuit Rule 32, I certify that

the attached response brief is proportionately spaced, has a typeface of 14 points or

more, and contains 4,173 words.



Date: June 26, 2023                     /s/ Joshua N. Turner___
                                        Joshua N. Turner




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                              CERTIFICATE OF SERVICE

      I hereby certify that on June 26, 2023, I electronically filed the foregoing with the

Clerk of the Court for the United States Court of Appeals for the Ninth Circuit by using

the CM/ECF system. I certify that all participants in the case are registered CM/ECF

users and that service will be accomplished by the CM/ECF system.



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